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                         Exhibit 4


           PCLLP’s Third Interim Fee Application
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023 (JTD)
                                                            )
                             Debtor.                        )
                                                            )     Objection Deadline: October 14, 2021

                               COVER PAGE TO:
             THIRD INTERIM APPLICATION OF PRYOR CASHMAN LLP
           FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES AS
      SPECIAL LITIGATION COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
             JULY 1, 2021 THROUGH AND INCLUDING AUGUST 31, 2021

    Name of Applicant:                                    Pryor Cashman LLP



    Authorized to Provide Professional                    Debtor
    Services to:
    Date of Retention:                                    Order entered on February 5, 2021 [D.I. 106],
                                                          retention effective as of January 11, 2021
    Period for which compensation and                     July 1, 2021 through August 31, 2021 (the
    Reimbursement is sought:                              “Application Period”)
    Total Amount of Compensation sought                   $14,371.00
    as actual, reasonable and necessary:
    80% of Compensation Sought as Actual,                 $11,496.80
    Reasonable and Necessary:
    Amount of Expense Reimbursement                       $610.26
    sought as actual, reasonable and necessary:

This is a(n)       X interim          monthly           final fee application.




1      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
       5035 Riverview Road, NW, Atlanta, GA 30327.
5820236 v1
29441.00001                                                1
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        SUMMARY OF THIRD APPLICATION OF PRYOR CASHMAN LLP FOR
      ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
       PURSUANT TO SECTION 330 OF THE BANKRUPTCY CODE, AS SPECIAL
                  LITIGATION COUNSEL FOR THE DEBTOR

                                     Fees by Professional
                         (from July 1, 2021 through August 31, 2021)

                                                          Hourly        Total     Total
              Name            Position/ Experience
                                                           Rate        Hours Compensation
 Todd E. Soloway         Partner,                        $1200.00      4.9    $5,880.00
                         Admitted in New York in 1992
                         Admitted in New Jersey in 1992
 Bryan T. Mohler         Partner,                       $720.00        4.8    $3,456.00
                         Admitted in New York in 2008.
 Itai Y. Raz             Associate,                      $530.00       9.5    $5,035.00
                         Admitted in New York in 2018
 Total                                                   $748.49       19.2   $14,371.00
                                                         (Blended
                                                         Hourly
                                                         Rate)




5820236 v1
29441.00001                                  2
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                          COMPENSATION BY PROJECT CATEGORY

             Project Category                Total Hours                  Total Fees
 Litigation                                                19.2                      $14,371.00
 TOTALS                                                    19.2                      $14,371.00




                                     EXPENSE SUMMARY

                          Expense Category                                 Amount
 Copies                                                                                   $5.52
 Electronic Discovery                                                                  $601.54
 US Court Docket Expense                                                                  $3.20
 TOTAL                                                                                 $610.26




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29441.00001                                      3
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023 (JTD)
                                                            )
                             Debtor.                        )
                                                            )

                                                                               Objection Deadline: October 14, 2021


    THIRD INTERIM APPLICATION OF PRYOR CASHMAN LLP FOR ALLOWANCE
     OF COMPENSATION AND REIMBURSEMENT OF EXPENSES PURSUANT TO
             SECTION 330 OF THE BANKRUPTCY CODE, AS SPECIAL
                  LITIGATION COUNSEL FOR THE DEBTOR

             Pryor Cashman LLP (“PCLLP”), as special litigation counsel for Wardman Hotel Owner,

L.L.C. (the “Debtor”), in the above-captioned chapter 11 case (the “Chapter 11 Case”),

respectfully submits this third interim application (“Application”), pursuant to section 330 of title

11 of the United States Code (the “Bankruptcy Code”), for allowance of (i) compensation for

professional services rendered to the Debtor and (ii) for reimbursement of actual and necessary

costs and expenses incurred in connection with PCLLP’s representation of the Debtor as its special

litigation counsel in this Chapter 11 Case from July 1, 2021 through August 31, 2021 (the

“Application Period”). PCLLP respectfully represents as follows:

                                       JURISDICTION AND VENUE

             1.    This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this case is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The



1      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
       5035 Riverview Road, NW, Atlanta, GA 30327.
5820236 v1
29441.00001
               Case 21-10023-JTD        Doc 401-5      Filed 12/27/21      Page 6 of 16




statutory predicate for the relief sought herein is sections 330 and 331 of the Bankruptcy Code,

rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure and Local Rule 2016-2 (the

“Bankruptcy Rules”).

                                          BACKGROUND

          2.    On January 11, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtor is managing its properties as debtor

in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee or examiner

has been appointed in the Debtor’s chapter 11 case, and no committees have been appointed or

designated.

          3.    The factual background regarding the Debtor, including its historical business

operations and the events precipitating the chapter 11 filing, is set forth in detail in the Declaration

of James D. Decker in Support of Debtor’s Chapter 11 Petition and First Day Motions [Docket

No. 2].

                               PROFESSIONAL FEE MATTERS

          4.    On January 19, 2021, the Debtor filed its application to employ PCLLP as special

litigation counsel for the Debtor (the “PCLLP Retention Application”) [Docket No. 49]. The

PCLLP Retention Application was granted by order of the Bankruptcy Court dated February 5,

2021 nunc pro tunc to January 11, 2021 [Docket No. 106].

          5.    By this Application, PCLLP respectfully seeks an order of this Court, pursuant to

Bankruptcy Code sections 330, allowing PCLLP, the sum of (i) $14,371.00 for professional fees

recorded from July 1, 2021 through August 31, 2021 as compensation for services rendered during

the Application Period (80% of which is $11,496.80), and (ii) the sum of $610.26 for

disbursements recorded from July 1, 2021 through August 31, 2021 as reimbursement of expenses

                                                   2
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incurred during the Application Period, and (c) authorizing and directing the Debtor to pay PCLLP

such allowed amounts.

        6.     PCLLP has not sought or received payment of any compensation for services

rendered or reimbursement of expenses since the Petition Date.

        7.     All services performed and expenses incurred by PCLLP for which compensation

and reimbursement are requested hereby were actually performed or incurred for and on behalf of

the Debtor, were necessary, and were beneficial to the Debtor’s estate.

        8.     The services rendered by PCLLP during the Application Period as special litigation

counsel are summarized below. Specifically, PCLLP rendered the following services during the

Application Period as counsel to the Debtor:

               a.     PCLLP spent time representing and advising the Debtor on issues related to

the transition of the Debtor’s asset, the property formerly known as Washington Marriott Wardman

Park Hotel (the “Property”), from a Marriott-branded property to a non-branded property following

the Debtor’s termination of the hotel management agreement (“HMA”) with Marriott Hotel

Services, Inc. (“Marriott”). This included various issues with Marriott related to the Chapter 11

Case.

               b.     PCLLP also spent time attending to issues related to claims brought by and

against Marriott related to the HMA between Debtor and Marriott, including the Proof of Claim

filed by Marriott on June 30, 2021 [Claim 42 in the Chapter 11 Case], advising the Debtor on

issues related to Marriott’s performance under the hotel management agreement, and the

preparation and filing of an adversary complaint against Marriott in this Court entitled Wardman

Hotel Owner, L.L.C. v. Marriott Hotel Services, Inc., Case 21-10023-JTD.



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              Case 21-10023-JTD         Doc 401-5      Filed 12/27/21      Page 8 of 16




                c.      PCLLP also spent time attending to other issues related to this proceeding,

including its second interim fee application, responding to requests from the Office of the United

States Trustee, and attending proceedings held before this Court.

        9.      Attached hereto as Exhibit A is PCLLP’s billing detail for the Application Period

providing: (i) the name of the attorney or paraprofessional performing the services and their billing

rate; (ii) the date the services were performed; (iii) a description of the services performed; (iv) the

amount of time expended; and (v) the fees incurred.

                                   SUMMARY OF EXPENSES

        10.     During the Application Period, PCLLP incurred or disbursed actual and necessary

costs and expenses related to this case in the aggregate amount of $610.26. The expenses incurred

include, among other things, US Court Docket expenses, electronic discovery, and photocopier

charges. A description of the necessary costs and expenses incurred by PCLLP is attached hereto

as part of Exhibit A.

        11.     Pursuant to Rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure,

PCLLP represents as follows with regard to its charges for actual and necessary costs and expenses

incurred during the Application Period:

                a.      Charges for copies are $0.46 per page, which charges are reasonable and

        customary in the legal industry and represents the costs of copy material, acquisition,

        maintenance, storage and operation of copy machines, together with a margin for recovery

        of related expenditures;

                b.      All other expenses are billed at actual costs and rates determined by the

        service providers—they are not “profit centers” for PCLLP.

                                   STATEMENT FROM PCLLP

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        12.       Pursuant to the Appendix B Guidelines for Reviewing Application for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases, PCLLP responds to the following questions regarding the Application:

 Question                                                              Yes   No   Additional Explanation or
                                                                                  Clarification
 Did you agree to any variations from, or alternatives to, your              X
 standard or customary billing rates, fees or terms for services
 pertaining to this engagement that were provided during the
 application period? If so, please explain.
 If the fees sought in this fee application as compared to the fees               N/A
 budgeted for the time period covered by this fee application
 higher by 10% or more, did you discuss the reasons for the
 variation with the client?
 Have any of the professionals included in this fee application              X
 varied their hourly rate based on the geographic location of the
 bankruptcy case?
 Does the fee application include time or fees related to                    X
 reviewing or revising time records or preparing, reviewing, or
 revising invoices?
 Does this fee application include time or fees for reviewing          X          1.9 hours
 time records to redact any privileged or other confidential
 information? If so, please quantify by hours and fees.
 If the fee application includes any rate increases since retention               N/A
 in this case:
      i.        Did your client review and approve those rate
                increases in advance?
      ii.       Did your client agree when retaining the law firm
                to accept all future rate increases? If not, did you
                inform your client that they need not agree to
                modified rates or terms in order to have you
                continue the representation, consistent with ABA
                Formal Ethics Opinion 11-458?



                 DECLARATION PURSUANT TO BANKRUPTCY RULE 2016

        13.       No agreement or understanding exists between the Debtor and any other person, or

PCLLP and any other person, for a division of compensation received or to be received for services

rendered in or in connection with this Chapter 11 Case.

        14.       No agreement or understanding prohibited by 18 U.S.C. § 155 has been or will be

made by PCLLP. The services covered by were performed for and solely on behalf of the Debtor.

                    REPRESENTATIONS AND RESERVATION OF RIGHTS
                                        5
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       15.       In accordance with the factors enumerated in Section 330 of the Bankruptcy Code,

the amounts requested herein for compensation and expense reimbursement are fair and reasonable

given (a) the complexity of these cases, (b) the time expended by the attorneys and

paraprofessionals at PCLLP, (c) the nature and extent of the services rendered, (d) the value of

such services, and (e) the costs of comparable services other than in a case under this title.

       16.       The undersigned has reviewed the requirements of Local Bankruptcy Rule 2016-2

and hereby attests that this Application conforms to such requirements.

       17.       Although every effort has been made to include all fees and expenses incurred in

the Application Period, some fees and expenses might not be included in this Application due to

delays caused by accounting and processing during the Application Period. PCLLP reserves the

right to make further applications to this Court for allowance of such fees and expenses not

included herein. Subsequent fee applications will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, the Local Bankruptcy Rules and the Interim Compensation Order.

                             NOTICE AND PRIOR APPLICATION

       18.       Notice of this Application has been provided in accordance with the Interim

Compensation Order. PCLLP submits that the foregoing constitutes good and sufficient notice

and that no other or further notice need be provided.

       19.       No previous application for the relief sought herein has been made to this or any

other court.

       WHEREFORE, PCLLP respectfully requests approval of $14,371.00 as the total

compensation for professional services rendered during the Application Period, 80% of which

($11,496.80) is to be paid upon the filing of a certificate of no objection, and the sum of $610.26



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for reimbursement of actual and necessary costs and expenses incurred by PCLLP during the

Application Period in this case from July 1, 2021 through August 31, 2021.

Dated: New York, New York
       September 23, 2021

                                                   PRYOR CASHMAN LLP


                                                   By: /s/ Todd E. Soloway
                                                          Todd E. Soloway
                                                          Bryan T. Mohler
                                                          Itai Y. Raz
                                                   7 Times Square
                                                   New York, NY 10036
                                                   (212) 421-4100

                                                   Special Litigation Counsel for the Debtor




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                         Exhibit A
                           Case 21-10023-JTD                      Doc 401-5    Filed 12/27/21     Page 13 of 16

                                                                                                     Pryor Cashman LLP                     •
             PRYOR CASHMAN                                                                           7 Times Square
                                                                                                     New York, NY 10036               •    r   •



                                                                                                                      September 08, 2021
                                                                                                                Invoice Number: 497777
   James Decker
   do JDecker & Company
   5035 Riverview Road, NW
   Atlanta, GA 30327
   jim@jdeckerco.com




   RE: 29441.00001                Marriott Wardman Park Dispute



   Forprofessionalservices rendered through August 31, 2021:


             Total Fees                                                                      $14,371.00

             Total Disbursements                                                                $610.26

                                  TOTAL THIS INVOICE                                         $14,981.26




   For billing inquiries please email: billing@pryorcashman.com                                       Federal Tax Identification Number:


   All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice no.
   497777. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

   Wire and ACH funds accepted:                                                     Remittance Address (If paid by check)
   Bank Name:                                                                       Pryor Cashman LLP
   Address:                                                                         7 Times Square
   Account Name:                                                                    New York, NY 10036
   ABA Number:                                                                      Attention: Accounting Department
   Account Number:
   Swift Code:                                                                      (Please return remittance page with check)



Tel: 212-421-4100 I Fax: 212-326-0806 I New York                        I   Los Angeles I Miami                             pryorcashman.com
                     Case 21-10023-JTD                 Doc 401-5    Filed 12/27/21        Page 14 of 16
Pryor Cashman LLP                                                                                                       Page 2
29441: Wardman Hotel Owner, LLC                                                                       Invoice Number: 497777
00001: Marriott Wardman Park Dispute                                                                     as of August 31, 2021



                                               Description Of Services Rendered

Date      Initials    Description                                                                       Hours         Amount
07/01/21 IYR          Review Marriott's proof of claim (.4); discuss related issues with team (.5).       0.90         477.00

07/06/21 TES          Review draft adversary complaint/attend to issues related to Marriott               0.50         600.00
                      proof of claim (.5)

07/07/21 BTM          Confer w/ bankruptcy counsel, clients re adversary proceeding, Marriott             1.40       1,008.00
                      proof of claim, draft complaint re same (.9); review proof of claim (.5).

07/07/21 TES          Prepare for (.2) and conduct conference call with clients and bk counsel re:        1.10       1,320.00
                      strategy (.9)

07/07/21 IYR          Prep for and participate in call with client and legal team re Marriott proof       1.10         583.00
                      of claim (1.1)

07/08/21 IYR          Attend to issues related to adversary complaint (.2)                                0.20         106.00

07/09/21 IYR          Discuss adversary complaint with group. (.1) Review updated draft of                0.30         159.00
                      adversary complaint and discuss same with team (.2)

07/09/21 TES          Confer re: adversary complaint/Marriott proof of claim (.3); tc Decker re:          0.60         720.00
                      strategy (.3)

07/14/21 IYR          Attend to adversary complaint (.1)                                                  0.10          53.00

07/16/21 IYR          Prep for and participate in call with client group re potential adversary           1.60         848.00
                      complaint. (.6) Review and make edits to adversary complaint. (.9) Attend to
                      pro hac vice papers (.1).

07/16/21 BTM          Confer w/ client re draft adversary proceeding pleading (.5)                        0.50         360.00

07/16/21 TES          Review and edit adversary complaint (.6)                                            0.60         720.00

07/21/21 TES          Review sale order (.2); tc Decker re: strategy (.2)                                 0.40         480.00

07/21/21 IYR          Discuss matter updates with team (.2)                                               0.20         106.00

07/22/21 BTM          Bankruptcy court hearing (.8), review proposed sale order, asset purchase           1.70       1,224.00
                      agreement (.9).

07/22/21 IYR          Hearing re motion to approve sale (.7).                                             0.70         371.00

07/23/21 TES          Review adversary complaint (.7)                                                     0.70         840.00

07/23/21 IYR          Review changes to proposed sale order. (.2)                                         0.20         106.00

07/27/21 IYR          Attend to pro hac filing. (.1)                                                      0.10          53.00

07/28/21 IYR          Work on interim fee submissions (.7)                                                0.70         371.00

07/29/21 BTM          Attention to fee submission (.8).                                                   0.80         576.00
                      Case 21-10023-JTD            Doc 401-5           Filed 12/27/21      Page 15 of 16
Pryor Cashman LLP                                                                                                       Page 3
29441: Wardman Hotel Owner, LLC                                                                       Invoice Number: 497777
00001: Marriott Wardman Park Dispute                                                                     as of August 31, 2021



Date       Initials    Description                                                                       Hours        Amount
07/29/21 TES           Review and comment upon fee application papers (.6)                                 0.60        720.00

07/29/21 IYR           Work on interim fee petition. (.7)                                                  0.60        318.00

07/30/21 TES           Additional review of fee application (.4)                                           0.40        480.00

07/30/21 IYR           Work on second fee application (.7)                                                 0.70        371.00

08/05/21 IYR           Work on fee application. (.2)                                                       0.20        106.00

08/05/21 BTM           Attention to second fee application (.4).                                           0.40        288.00

08/09/21 IYR           Finalize second interim fee application. (.2)                                       0.20        106.00

08/10/21 IYR           Attend to request form US Trustee's office. (.4)                                    0.40        212.00

08/11/21 IYR           Case management (.1)                                                                0.10         53.00

08/12/21 IYR           Attend to fee app. (.2) Attend to UST request (.1).                                 0.30        159.00

08/19/21 IYR           Review docs/filings related to Debtor's liquidation and sale (.8)                   0.80        424.00

08/23/21 IYR           Discuss matter updates with B. Mohler. (.1).                                        0.10         53.00

                       Total Services Rendered                                                           19.20     $14,371.00




                                                       Summary of Services

Name                                                         Title                            Hours    Bill Rate      Amount
B. T. Mohler                                                 Partner                           4.80     720.00       3,456.00
T.E. Soloway                                                 Partner                           4.90   1,200.00       5,880.00
I. Y. Raz                                                    Associate                         9.50     530.00       5,035.00
Total Services Rendered                                                                       19.20                $14,371.00




                                                 Description of Disbursements

                 Description                                                                            Amount
                 Electronic Discovery                                                                    601.54
                 US Court Docket Expense                                                                   3.20
                 Reproduction                                                                              5.52
                 Total Disbursements                                                                    $610.26

TOTAL CURRENT FEES AND DISBURSEMENTS                                                                               $14,981.26
                        Case 21-10023-JTD           Doc 401-5        Filed 12/27/21        Page 16 of 16

                                                                                              Pryor Cashman LLP               •
           PRYOR CASHMAN                                                                      7 Times Square
                                                                                              New York, NY 10036          •   r   •




                                                                                                            September 08, 2021
                                                                                                       Invoice Number: 497777
   James Decker
   c/olDecker & Company
   5035 Riverview Road, NW
   Atlanta, GA 30327
   jim@jdeckerco.com




   RE: 29441.00001           Marriott Wardman Park Dispute



   Forprofessionalservices rendered through August 31, 2021:


           Total Fees                                                                 $14,371.00

           Total Disbursements                                                           $610.26

                             TOTAL THIS INVOICE                               4 S :4$:4,981.26




                                                      <\         e       '




   For billing inquiries please email: billing@pnorcashman.com                               Federal Tax Identification Number
                                        r
   All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice no.
   497777. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

   Wire and ACH funds accepted:                                              Remittance Address (If paid by check)
   Bank Name:                                                                Pryor Cashman LLP
   Address:                                                                  7 Times Square
   Account Name:                                                             New York, NY 10036
   ABA Number:                                                               Attention: Accounting Department
   Account Number:
   Swift Code:                                                               (Please return remittance page with check)



Tel: 212-421-4100 I Fax: 212-326-0806 I New York I Los Angeles I Miami                                           pryorcashman.con
